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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

MDL NO. 2179
IN RE: OIL SPILL by the OIL RIG :
“DEEPWATER HORIZON” in the — : SECTION: J
GULF OF MEXICO, on :
APRIL 20, 2010
JUDGE BARBIER

THIS DOCUMENT RELATES TO:

MAG. JUDGE SHUSHAN

L. Bill's Oyster House v BP et al (C.A. 10-1308)

2. Howard Buras v BP et al (C.A.10-2994)

3. Armand's Bistro v BP et al (C.A. 10-4489)

4, Faye Loupe et al. v BP et al (C.A. 10-2764)

5. Laura Gautreaux v BP et al (C.A, 10-1539)

6. Brent Rodrigue, Sr. et al. v BP et al (C.A. 10-1325)

NOTICE OF MANUAL ATTACHMENT AND FILING OF EXHIBIT “A” TO

MOTION FOR

SUMMARY JUDGMENT

Undersigned counsel hereby notices that he is manually filing the Exhibit “A” to the

Motion For Summary Judgment because its size exceeds the capabilities for electronic filing.

- Respectfully submitted,

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4. Faye Loupe et al. v BP et al (C.A, 10-2764)
5, Laura Gautreaux v BP et al (C.A. 10-1539)

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6. Brent Rodrigue, Sr. et al. v BP et al (C.A. 10-1325)

CERTIFICATE OF SERVICE

WE HEREBY CERTIFY that the above and foregoing Memorandum has been served on
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the United States District Court for the Eastern District of Louisiana by using the CM/ ECF
System, which will send a notice of electronic filing in accordance with the procedures
established in MDL 2179, on this _12th day of April, 2011.

/s/ Daniel E. Becnel,_ Jr.

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DET NORSKE VERITAS

«Final Report
for

UNITED STATES DEPARTMENT
OF THE INTERIOR

BUREAU OF OCEAN ENERGY MANAGEMENT,
‘- REGULATION, AND ENFORCEMENT
WASHINGTON, DC 20240

FORENSIC EXAMINATION OF DEEPWATER

HORIZON BLOWOUT PREVENTER
CONTRACT AWARD NO. M10PX00335
VOLUME ! FINAL REPORT

Report No. EP030842
20 March 201)

The view. opinions, and/or findings contained in this report are those of the author(s) and
should not be construed as an official government position, policy or decision, unless so
designated by other documentation.
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Management, Regulation, and Enforcement

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Forensic Examination of Deepwater Horizon
Blowout Preventer

- For:
United States Department of the Interior
Bureau of Ocean Energy Management, Regulation,
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List of Abbreviations and Acronyms

AMF Automated Mode Function

API American Petroleum Institute

BOEMRE Bureau of Ocean Energy Management, Regulation, and Enforcement

BOP Blowout Preventer

BP BP Exploration & Production Inc.

BSR Blind Shear Ram

CAD Computer Aided Design

CSR Casing Shear Ram

DHS Department of Homeland Security

DNV Det Norske Veritas

DOI Department of the Interior

EDS Emergency Disconnect Sequence

EPA Environmental Protection Agency

ERT Evidence Response Team

FAT Factory Acceptance Test

FBI Federal Bureau of Investigation

FEA Finite Element Analysis

HP High Pressure

HPU Hydraulic Pressure Unit

ID Inside Diameter

JIT Joint Investigation Team

LA Lower Annular

LMRP Lower Marine Riser Package

MIC Microbiologically Influenced Corrosion

MMS Minerals Management Service

MODU Mobile Offshore Drilling Unit

MOEX Mitsui Oil and Exploration Company

MUX Multiplex cables

NACE National Association of Corrosion Engineers

NASA National Aeronautics and Space Administration

NPT National Pipe Thread

OD Outside Diameter

PBOF Pressure Balance of Oil Filled

PETU Portable Electronic Test Unit

PSIG Pounds Per Square Inch Gauge

RCB Rigid Conduit Box cable

ROV Remotely Operated Vehicle

SCAT Systematic Causal Analysis Technique

SEM Subsea Electronic Modules

SMYS Specified Minimum Yield Strength
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STM Subsea Transducer Module
TWG Technical Working Group
UA Upper Annular
USCG United States Coast Guard
UTS Ultimate Tensile Strength
VBR Variable Bore Ram
YS Yield Stress
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1 EXECUTIVE SUMMARY

A Joint Investigation Team (JIT) of the Departments of the Interior (DOI) and Homeland
Security (DHS) was charged with investigating the explosion, loss of life, and blowout
associated with the Deepwater Horizon drilling rig failure. As a part of this overall
investigation, Det Norske Veritas (DNV) was retained to undertake a forensic
examination, investigation, testing and scientific evaluation of the blowout preventer
stack (BOP), its components and associated equipment used by the Deepwater Horizon
drilling operation.

The objectives of the proposed investigations and tests were to determine the
performance of the BOP system during the well control event, any failures that may have
occurred, the sequence of events leading to failure(s) of the BOP and the effects, if any,
of a series of modifications to the BOP Stack that BP and Transocean officials
implemented.

The set of activities undertaken by DNV included:

e Establishing a base of operations at the NASA Michoud facilities for receiving and
testing the BOP stack and associated equipment

e Building a temporary enclosure to house the BOP Stack to facilitate the forensic
examinations

e Recovery of and assessment of drill pipe, rams, fluids and other material from the
BOP Stack and recovered drilling riser

e Function testing of the hydraulic circuits, mechanical components and control
systems of the BOP Stack

e Visual examination of evidence and additional analysis using laser profilometry

e Mechanical and metallurgical testing of pieces of drill pipe

e Coordination of activities with other stakeholders through the JIT and the Technical
Working Group (TWG)

e Review of documents and Remotely Operated Vehicle (ROV) videos

e Mathematical modeling of the mechanical damage and deformation of drill pipe

e Developing possible failure scenarios

1.1 The Equipment

The Deepwater Horizon was a semi-submersible, dynamically positioned, mobile
offshore drilling unit (MODU) that could operate in waters up to 8,000 feet deep and drill
down to a maximum depth of 30,000 feet. The rig was built in South Korea by Hyundai
Heavy Industries. The rig was owned by Transocean, operated under the Republic Of The
Marshall Islands flag, and was under lease to BP from March 2008 to September 2013.

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The BOP Stack, built by Cameron, was in use on the Deepwater Horizon since the
commissioning of the rig in 2001. The BOP Stack consisted of the following systems,
sub-systems and components:

e A Lower Marine Riser Package (LMRP) containing two annular preventers and two
Control Pods

e The lower section of the BOP Stack contains five sets of rams. These rams are
referred to as the Blind Shear rams (BSR), the Casing Shear rams (CSR), Upper
Variable Bore rams (VBR), Middle VBRs and Lower VBRs. The LMRP sits on top
of the lower section of the BOP.

e Two electronic Control Pods are located or fitted to the LMRP. These control pods
receive signals from the control panels that are located on the rig itself, and then
activate various solenoids in turn functioning various hydraulic circuits and
mechanical components on the BOP Stack.

At the time of the accident, the rig was drilling an exploratory well at a water depth of
approximately 5,000 feet in the Macondo Prospect. The well is located in Mississippi
Canyon Block 252 in the Gulf of Mexico.

12 The Accident

On the evening of April 20, 2010, control of the well was lost, allowing hydrocarbons to
enter the drilling riser and reach the Deepwater Horizon, resulting in explosions and
subsequent fires. The fires continued to burn for approximately 36 hours. The rig sank on
April 22, 2010. From shortly before the explosions until May 20, 2010, when all ROV
intervention ceased, several efforts were made to seal the well. The well was permanently
plugged with cement and “killed” on September 19, 2010.

In the event of a loss of well control, various components of the BOP Stack are
functioned in an attempt to seal the well and contain the situation. The most important of
these components are the blind shear rams. These can be activated in several different
ways:

e Activation from either of two control panels located on the Deepwater Horizon rig
itself

e Through the Emergency Disconnect Sequence which is also activated from either of
the two control panels on the rig itself

e By the Automated Mode Function (AMF)/Deadman circuits located in the Subsea
Electronic Modules within either of two subsea control pods mounted on the LMRP

e By the Autoshear function located on the BOP Stack

e By ROV intervention through a panel on the BOP Stack

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1.3 Forensic Tests

On September 4, 2010, the BOP Stack was raised from the sea floor. The BOP Stack was
transferred by barge to the NASA-Michoud facility in New Orleans, LA.

On October 3, the BOP Stack and LMRP were lifted from the barge and placed on test
pans. that were constructed on the West Dock of the Michoud facility. Per contract
requirements, DNV developed and submitted a draft test plan to the JIT for review,
comment and approval. The JIT forwarded this plan to several Parties-In-Interest to the
forensic examinations for their review and comment. These comments were, in turn,
submitted to DNV for consideration and possible inclusion. Part of the forensic testing
protocol was to establish a Technical Working Group consisting of technical
representatives from BP, Transocean, Cameron, Department of Justice, Chemical Safety
Board and the Multi-District Litigation. A final Forensic Testing Plan was approved on
October 22, 2010. Forensic testing began on November 15, 2010 and was completed on
March 4; 2011.

The Blind Shear, Casing Shear and three sets of Variable Bore Rams were removed from
the lower section of the BOP, cleaned and examined visually and using laser
profilometry. The wellbore was examined using high definition video cameras and the
section of the wellbore at the Blind Shear Rams was also examined by laser profilometry.
The wellbore and the upper and lower annulars in the LMRP were examined using a high
definition video camera. Fluid samples were collected from the wellbore and various
hydraulic circuits.

A total of eight segments of drill pipe were recovered, examined and tested. Two drill
pipe segments were recovered from the BOP at Michoud. Three additional segments
were recovered from the drilling riser at Michoud. Three other segments of drill pipe
previously recovered were also examined. The segments were matched together using a
combination of visual examination of the shear or fracture surfaces, laser profilometry,
mechanical and metallurgical testing. A timeline sequence of the various failures in the
drill pipe was developed. The results of the mechanical and metallurgical testing for the
drill pipe were in accordance with industry standards.

Function testing included:

ST Locks

Choke and Kill valves

The hydraulic operators and circuits of the five ram sets on the lower BOP
The high pressure accumulators on the lower BOP

The hydraulic circuits of the AMF/Deadman and Autoshear

The electronic circuits of the AMF/Deadman and Autoshear

The hydraulic circuits of all the above functioned as intended when tested or operated.
The tests of the electronic circuits of the AMF/Deadman demonstrated that the voltage of

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the 27V battery in the Blue Pod was insufficient to activate the High Pressure Blind
Shear Ram pilot solenoid mounted on the Blue Pod. The tests of the Yellow Pod High
Pressure Blind Shear Ram pilot solenoid circuits were inconsistent.

1.4 What is Considered to Have Happened

Prior to the loss of well control on the evening of April 20, 2010, the Upper Annular
(UA) was closed as part of a series of two negative or leak-off tests. Approximately 30
minutes after the conclusion of the second leak-off (negative pressure) test, fluids from
the well began spilling onto the rig floor. At 21:47 the standpipe manifold pressure
rapidly increased from 1200 psig to 5730 psig. The first explosion was noted as having
occurred at 21:49. At 21:56 the Emergency Disconnect Sequence (EDS) was noted to
have been activated from the bridge. This was the final recorded well control attempt
from the surface before the rig was abandoned at 22:28.

The Upper VBRs were found in the closed position as-received at the Michoud facility.
There was no documented means of ROV intervention to close the Upper VBRs. ROV
gamma ray scans on May 10, 2010, confirmed that the ST Lock on the port side Upper
VBR was closed. Scans of the starboard side ST Lock on the Upper VBRs were
inconclusive. Measurements of the ST Lock positions performed at the Michoud facility
confirmed that both ST Locks on the Upper VBRs were closed. Evidence supports that
the Upper VBRs were closed prior to the EDS activation at 21:56 on April 20, 2010.

A drill pipe tool joint was located between the Upper Annular and the Upper VBRs. With
both the Upper Annular and the Upper VBRs closed on the drill pipe, forces from the
flow of the well pushed the tool joint into the Upper Annular element. This created a
fixed point arresting further upward movement of the drill pipe. The drill pipe was then
fixed but able to pivot at the Upper Annular, and horizontally constrained but able to
move vertically at the Upper VBRs. Forces from the flow of the well induced a buckling
condition on the portion of drill pipe between the Upper Annular and Upper VBRs. The
drill pipe deflected until it contacted the wellbore just above the BSRs. This condition
would have most likely occurred from the moment the well began flowing and would
have remained until either the end conditions changed (change in Upper Annular or
Upper VBR state) or the deflected drill pipe was physically altered (sheared). The portion
of the drill pipe located between the shearing blade surfaces of the BSRs was off center
and held in this position by buckling forces.

As the BSRs were closed, the drill pipe was positioned such that the outside corner of the
upper BSR blade contacted the drill pipe slightly off center of the drill pipe cross section.
A portion of the pipe cross section was outside of the intended BSR shearing surfaces and
would not have sheared as intended. As the BSRs closed, a portion of the drill pipe cross
section became trapped between the ram block faces, preventing the blocks from fully
closing and sealing. Since the deflection of the drill pipe occurred from the moment the
well began flowing, trapping of the drill pipe would have occurred regardless of which

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means initiated the closure of the BSRs.

Of the means available to close the BSRs, evidence indicates that the activation of the
BSRs occurred when the hydraulic plunger to the Autoshear valve was successfully cut
on the morning of April 22, 2010. However, on the evidence available, closing of the
BSRs through activation of the AMF/Deadman circuits cannot be ruled out.

In the partially closed position, flow would have continued through the drill pipe trapped
between the ram block faces and subsequently through the gaps between the ram blocks.
When the drill pipe was sheared on April 29, 2010, using the CSRs, the well flow pattern
changed to a new exit point. At this point, the flow expanded through the open drill pipe
at the CSRs and up the entire wellbore to the BSRs and through the gaps along the entire
length of the block faces and around the side packers.

1.5 Primary Cause and Contributing Causes

The failure cause analysis was organized and conducted around a single top event. For
the purposes of this investigation, the top event was defined as the failure of the BSRs to
close and seal the well.

The primary cause of failure was identified as the BSRs failing to fully close and seal due
to a portion of drill pipe trapped between the blocks.

Contributing causes to the primary cause included:

e The BSRs were not able to move the entire pipe cross section into the shearing
surfaces of the blades.

e Drill pipe in process of shearing was deformed outside the shearing blade surfaces.

e The drill pipe elastically buckled within the wellbore due to forces induced on the
drill pipe during loss of well control.

e The position of the tool joint at or below the closed Upper Annular prevented upward
movement of the drill pipe.

e The Upper VBRs were closed and sealed on the drill pipe.

e The flow of well fluids was uncontrolled from downhole of the Upper VBRs.

1.6 Recommendations for Industry

The primary cause of failure was identified as the BSRs failing to close completely and
seal the well due to a portion of drill pipe becoming trapped between the ram blocks. The
position of the drill pipe between the Upper Annular and the upper VBRs led to buckling
and bowing of the drill pipe within the wellbore. Once buckling occurred the BSRs
would not have been able to completely close and seal the well. The buckling most likely
occurred on loss of well control.

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The recommendations are based on conclusions from the primary and contributing causes
or on observations that arose during the course of DNV’s investigations.

1.6.1 Study of Elastic Buckling

The elastic buckling of the drill pipe was a direct factor that prevented the BSRs from
closing and sealing the well.

It is recommended the industry examine and study the potential conditions that could
arise in the event of the loss of well control and the effects those conditions would have
on the state of any tubulars that might be present in the wellbore. These studies should
examine the following:

e The effects of the flow of the well fluids on BOP components and various tubulars
that might be present,

e The effects that could arise from the tubulars being fixed or constrained within the
components of a Blowout Preventer,

e The ability of the Blowout Preventer components to complete their intended design or
function under these conditions.

The findings of these studies should be considered and addressed in the design of future
Blowout Preventers and the need for modifying current Blowout Preventers.

1.6.2 Study of the Shear Blade Surfaces of Shear Rams

The inability of the BSRs to shear the off-center drill pipe contributed to the BSRs being
unable to close and seal the well.

It is recommended the industry examine and study the ability of the shear rams to
complete their intended function of completely cutting tubulars regardless of their
position within the wellbore, and sealing the well. The findings of these studies should be
considered and addressed in the design of future Blowout Preventers and the need for
modifying current Blowout Preventers to address these findings.

1.6.3 Study of Well Control Procedures or Practices

The timing and sequence of closing of the UA and upper VBRs contributed to the drill
pipe segment buckling and bowing between the two moving the drill pipe off center.

It is recommended the industry examine and study the potential effects or results that
undertaking certain well control activities (e.g. closing of the annulars, or closing of the
VBRs) could have on the BOP Stack. Examination and study should identify conditions,
which could adversely affect the ability to regain control of the well (e.g. elastic buckling
of tubulars). Industry practices, procedures and training should be reviewed and revised,
as necessary, to address the prevention of these conditions.

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1.6.4 Status of the Back-Up Control Systems

The BOP functionality testing indicated some back-up control system components did not
perform as intended.

It is recommended the industry review and revise as necessary the practices, procedures
and/or requirements for periodic testing and verification of the back-up control systems
of a Blowout Preventer to assure they will function throughout the entire period of time
the unit is required on a well.

1.6.55 Common Mode Failure of Back-Up Control Systems

The BOP functionality testing indicated not all back-up control systems had built in
redundancy.

It is recommended the industry review and revise as necessary the practices, procedures
and/or requirements for evaluating the vulnerability of the back-up control systems of a
Blowout Preventer to assure they are not subject to an event or sequence of events that
lead to common mode failure.

1.6.6 Study the Indication of Functions in an Emergency

The ROV intervention efforts reviewed indicated the ROVs were not capable of directly
and rapidly determining the status of various ROV components.

It is recommended the industry examine and revise the current requirements for providing
a means to verify the operation, state or position of various components of Blowout
Preventers in the event of an emergency. The industry should require that it is possible to
confirm positively the state or position of certain components such as the rams, annulars
and choke and kill valves either with the use of Remotely Operated Vehicles or by other
means.

1.6.7 Study of the Effectiveness of Remotely Operated Vehicle
Interventions

The ROV intervention efforts reviewed indicated initial ROV efforts were not capable of
performing key intervention functions at a level equivalent to the primary control
Systems.

It is recommended the industry examine and study the conditions and equipment
necessary for Remotely Operated Vehicles to perform various functions (e.g. the BSRs)
at a performance level equivalent to the primary control systems. Make adequate
provision to mobilize such equipment in the event of a well control emergency.

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1.6.8 Stipulating Requirements for Back-Up Control System
Performance

A review of industry standards indicated they do not stipulate performance requirements
for back-up systems (e.g. closing response times) as they do for primary control systems.

It is recommended the industry review and revise the requirements for back-up control
system performance to be equivalent to the requirements stipulated for primary control
systems.

1.7. Recommendations for Further Testing

DNV’s forensic examinations and testing were organized and conducted around the top
event of the failure of the Blind Shear Rams to close and seal the well.

The recovery and examination of the eight segments of drill pipe and the five sets of rams
shifted the focus from the question of whether the blind shear rams were activated to that
of identifying the factors that would have caused or contributed to the blind shear rams
failing to seal the well. As described in this report, DNV is of the view that the primary
cause for the blind shear rams failing to close arose from conditions that led to the drill
pipe being forced to one side of the wellbore at a position immediately above the Blind
Shear Rams. DNV has investigated the conditions that could lead to such a buckling
scenario developing. However, even here DNV recognizes there are additional studies
and tests that could be undertaken to examine this scenario further.

In addition, DNV has identified a number of areas or issues associated with the overall
performance of the BOP Stack that should be examined, investigated or tested further. As
a result, DNV puts forward the following recommendations.

1.7.1 Additional Studies of Conditions Leading to Elastic Buckling

e Supplement the Finite Element Analysis buckling model with a Computational Fluid
_ Dynamic simulation of the flow through the drill pipe.

e Run the Finite Element Analysis drill pipe-cutting model to include the buckling
stresses that would have existed in the drill pipe.

e Field test the blind shear rams shearing a section of off-centered (buckled) 5-1/2 inch
drill pipe.

e Field test the ability of a closed annular to restrain the upward movement of a 5-1/2
inch drill pipe tool joint at the forces calculated for buckling.

e Field test the conditions required to push a 5-1/2 inch tool-joint through a closed
annular element.

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1.7.2. Additional Tests or Studies of the Performance of the Blowout

Preventer Stack
e It is suggested that the static pressure tests undertaken at Michoud on the high-
pressure shear hydraulic circuits of the lower section of the BOP be supplemented
with additional tests of the circuits of the Casing Shear Rams and the Variable Bore
Rams.
e The tests at Michoud performed on the high-pressure blind shear close solenoid
removed from the Yellow Pod in May 2010 gave inconsistent results. It is suggested
this solenoid be further tested and possibly disassembled to discern the reason for its
performance and whether it was likely to have functioned at the time of the incident.
e On pressuring the high-pressure shear ram circuit, the high-pressure casing shear
regulator leaked. It is suggested the high-pressure casing shear regulator be further
tested and disassembled to try and discern its state at the time of the incident.
e It is suggested that the behavior of the elastomeric elements of the rams and annulars
be tested to assess their performance when exposed to well fluids at the temperatures
that existed at the time of the blowout.
e The tests of the Subsea Electronic Modules (SEMs) undertaken at Michoud should be
supplemented by removing the SEMs from the Control Pods, venting and then
opening the SEMs to understand better their possible state at the time of the incident.
The following tests or activities are suggested:
¢ Collect and analyze samples of the SEMs gas/atmosphere prior to or as part of
venting the SEMs

e Remove the batteries and record part numbers, serial numbers, date of
manufacture and any other pertinent manufacturing data

e Inplace of the batteries connect a voltage generator and conduct a series of tests
on the AMF/Deadman circuits at various voltages and record the results

e The lower and upper annulars are well control components of the BOP stack. As a
result the following tests or examinations of the lower and upper annulars are
suggested:

e Laser scanning of the upper annular in-situ and “as-is” condition

e Remove and examine the upper and lower annular elements

e Static pressure tests of the annular operating systems

e Function testing of the open and close operating systems of both annulars

e The evidence from eyewitnesses was that the Emergency Disconnect Sequence was
activated approximately seven minutes after the first explosion. It is suggested the
hydraulic circuits and functioning of the LMRP HC collet connector and the choke
and kill collet connectors be tested as a means to try and assess their state at the time
of the incident.

e It is suggested the wellbore pressure-temperature sensor at the base of the lower
section of the BOP be removed and its accuracy checked or tested.

e It is suggested the industry perform field tests on the ability of the BSRs to shear and
seal a section of 5-1/2 inch drill pipe under internal flow conditions that existed at the
time of the incident.

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2 INTRODUCTION

On April 27, 2010, the Departments of Interior and Homeland Security signed an order
that made provision for the Departments to convene a Joint Investigation of the April 21-
22 2010, explosion and sinking of the Deepwater Horizon Mobile Offshore Drilling
Unit.

On August 10, 2010 the Bureau of Ocean Energy, Management, Regulation and
Enforcement (BOEMRE) of the Department of Interior issued a competitive Request for
Proposal to undertake a series of forensic investigations and tests on the Deepwater
Horizon Blowout Preventer. The objectives of the proposed investigations and tests were
to determine the performance of the BOP system during the well control event, any
failures that may have occurred, the sequence of events leading to failure(s) of the BOP
and the effects, if any, of a series of modifications to the BOP stack that BP and
Transocean officials implemented. As part of the foregoing task, the examination was to
determine:

e If leaks on the BOP were critical to the non-performance during the blowout and
during the ROV intervention attempts
If any modification(s) made to the control logic and stack inhibited the performance
If any other relevant factors, including but not limited to manufacturing defects,
deferral of necessary repairs affecting functionality, and maintenance history
contributed to the BOP’s failure to operate as intended

DNV submitted a proposal to undertake the forensic examinations, investigations and
tests in accordance with the RFP and was awarded a contract on September 1, 2010.

The set of activities undertaken by DNV included:

e Establishing a base of operations at the NASA-Michoud facilities for receiving and
testing the BOP stack and associated equipment,

e Building a temporary enclosure to house the BOP stack to facilitate the forensic
examinations,

e Recovery of and assessment of drill pipe, rams, fluids and other material from the
BOP stack and recovered drilling riser,

e Function testing of the hydraulic circuits, mechanical components and control
systems of the BOP stack,

e Visual examination of evidence and additional analysis using laser profilometry,

e Mechanical and metallurgical testing of pieces of drill pipe,

' Statement of Principles and Convening Order regarding an investigation into the Marine Casualty,
Explosion, Fire, Pollution and Sinking of Mobile Offshore Drilling Unit Deepwater Horizon, With Loss of
Life in the Gulf of Mexico 21-22 April 2010

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Coordination of activities with other stakeholders through the JIT and the technical
working group,

Review of documents and ROV videos,

Mathematical modeling of the mechanical damage and deformation of drill pipe, and
Developing possible failure scenarios

On September 4, 2010, the Deepwater Horizon Blowout Preventer was removed from the
wellhead and raised from the sea floor by the multi-purpose intervention vessel Q-4000.
A hazards search of the BOP Stack was conducted. Initial stabilization activities were
also performed on board the Q-4000. The Lower Marine Riser Package (LMRP) was
separated from the lower BOP section prior to transferring the two units from the Q-4000
to a transport barge. The two units were then towed to the NASA-Michoud facility in
New Orleans, LA.

Figure 1 NASA-Michoud West Dock Test Site

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The NASA-Michoud facility constructed two test pans or pads on their West Dock as part |
of their preparations to receive the two units. On October 3, the BOP and LMRP were
lifted from the transport barge and placed on the test pans.

BOP stack — Lower Marine .
with BOP Rams Riser Package a
(LMRP} 1
oY

a

Per contract requirements, DNV developed and submitted a draft test plan to the JIT for
review, comment and approval. The JIT forwarded this plan to several Parties-In-Interest
to the forensic examinations for their review and comment. These comments were
returned to DNV for consideration and possible inclusion. Part of the forensic testing
protocol was to establish a Technical Working Group (TWG) consisting of
representatives from BP, Transocean, Cameron, Department of Justice, Chemical Safety
Board and the Multi-District Litigation. A final test plan was approved by the JIT on
October 27, 2010.

Forensic testing began on November 15, 2010. On December 23, 2010, the forensic
investigations and testing on the West Dock stopped for enclosure construction. A
temporary enclosure was constructed over and around the LMRP and BOP on the West
Dock. Construction started on December 27 and continued on through January 28, 2011.
During the enclosure construction period the drill pipe segments and rams were moved to
Building 411 for cleaning and examination. Testing on the West Dock resumed on
January 28 and continued through to March 4, 2011, when the last series of tests were
completed.

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Figure 3 Early Stages of Temporary Enclosure Construction

Figure 4 Temporary Enclosure

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3 BACKGROUND

The rights to drill or explore the Macondo Prospect or well within the Mississippi
Canyon are jointly owned by BP Exploration & Production (BP), Anadarko Petroleum
and Mitsui Oil and Exploration Co (MOEX). The Mississippi Canyon is located
approximately 40 miles off the coast of Louisiana.

The engineering and design of

the well started in 2009.

Drilling of the well began in

October 2009 using the Mobile

Offshore Drilling Unit
“Marianas” which is owned by
Transocean and was under

contract to BP. Drilling was

halted in November 2009 due to

the passing of Hurricane Ida.

Damage to the Marianas

required it to be returned to

dock for repairs and it |
subsequently went off contract.
The Transocean Deepwater ee
Horizon Mobile Offshore
Drilling Unit was selected to
continue drilling of the well.

FlexJoint®

Upper Annular
Preventer

Lower Annular
Preventer

Kill Si

The Deepwater Horizon started
drilling in February and Kill Valve
continued through to April
2010. On April 9, the well was
drilled to its final depth of

Blind Shear Ram

Casing Shear Ram

Upper Variable
18,360 feet. Bore Ram
. hoke Val
During the afternoon and early _. = © oke Valves
. . Middle Variable eo
evening hours of April 20, the Bore Ram
crew performed two negative
Lower Variable
pressure or leak-off tests on the Bore Ram
well. The second of these two
tests was recorded as being Kill Valve a
completed at 21.10 hours. é. \
Approximately 30 minutes after
having finished this test, the ACA

crew observed water and mud Port Side
Figure 5 Deepwater Horizon BOP Port Side

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on the floor of the drill rig. At 21:49 an explosion occurred on the rig followed
immediately by fire. The Emergency Disconnect Sequence of the Blowout Preventer was
reportedly activated just before 21:56. The rig was abandoned at 22:28.

Prior to, during and following the initial stages of the accident, numerous attempts were
made to control the well by activating or functioning various components of the
Deepwater Horizon’s subsea Blowout Preventer (BOP). The Blowout Preventer is
comprised of two primary packages or systems, the Lower Marine Riser Package and the
lower section of the
Blowout Preventer.

The lower section of the
Blowout Preventer attaches
to the subsea wellhead. The
Lower Marine Riser

FlexvJoint® +———

Control Pod : Package attaches to the top

(Blue) \at ghee ||: of the lower section of the

Yellow) od Blowout Preventer. When

Upper Annular these two units are ‘stacked’

Preventer or attached they are

Lower Annular generally referred to as the

Preventer BOP ‘Stack’. When stacked

the two units are

ie approximately 57 feet in

e overall height with a

a combined weight of
approximately 400 tons.

pind Shear The lower section of the

Blowout Preventer consists

80 gal. Accumulator.

Bottle (8) Casing Shear of three sets of Variable

Ram Bore pipe Rams (VBRs), a
pbpet Vaniable set of Casing Shear Rams
(CSRs), and a set of Blind
SS Choke Valves Shear Rams (BSRs). The

Middle Variabl :

0 hore Rete VBRs are designed to close

and seal around drill pipe.

Lower Variable The Casing Shear Rams are
Bore Ram

designed to sever casing
(large diameter pipe). The
Blind Shear Rams are
designed to sever drill pipe
ORE that might be in the
Choke Side wellbore and seal the

Figure 6: Deepwater Horizon BOP Choke Side

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wellbore in the event of the loss of well control. The BSRs are the only set of rams
designed to cut drill pipe and seal the well in the event of a blowout. The lower section of
the BOP also contains 8 x 80 gallon accumulators. These accumulators contain a bladder
separating the accumulator into two sections or chambers. One chamber is filled with
nitrogen gas; the other chamber with a hydraulic fluid. The chamber with nitrogen is
pressured to a level that is established and dependent on the depth of water in which the
BOP will be located (i.e., the ‘pre-charge’). The second chamber is filled with hydraulic
fluid which is then pressured to a level also dependent on the water depth in which the
BOP will be located. It is this hydraulic fluid which is used to function the blind shear
rams in the event of an emergency.

The LMRP contains two annular preventers, the Upper Annular (UA) and the Lower
Annular (LA). The annular preventers consist of a set of hydraulically activated fingers
and an elastomeric element that can be closed which will compress and seal around the
drill pipe. The LMRP is also fitted with two control pods, one designated “blue” and the
other “yellow”. Each pod contains a Subsea Electronic Module (SEM), a hyperbaric
cylinder or chamber in which the electronic control circuits for both the LMRP and BOP
components are housed. Each control pod is connected to the control systems or panels
on the drilling rig itself by Multiplex (MUX) cables. These cables transmit power from
the rig to the Control Pods as well as send and receive communication signals between
the control panels on the rig and SEMs in the Control Pods. In addition to the MUX
cables, a hydraulic line from the rig to the LMRP charges the subsea accumulators to
function the hydraulic circuits of various stack components.

A Flex Joint mounted to the top of the LMRP connects the LMRP to the subsea Riser.

In situations where events could lead to the loss of well control or well control is lost, the
various rams and annulars can be functioned to regain control of the well. Of these
functions, as noted earlier, the blind shear rams are the only component designed to shear
drill pipe that might be in the wellbore (the situation that existed at the time of the
accident) and then seal the well.

The Blind Shear Rams can be activated in several different ways.

e Activation from either of two control panels located on the Deepwater Horizon rig
itself

e Through the Emergency Disconnect Sequence which is also activated from either of
the two control panels on the rig itself

e By the AMF/Deadman circuits located in the Subsea Electronic Modules within
either of two subsea control pods mounted on the LMRP
By the Autoshear function located on the BOP stack
By ROV intervention through a panel on the BOP stack

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Normal or standard closing of the BSRs occurs at a pressure of 3,000 psig. The blind
shear rams can also be closed through a high-pressure circuit of 4,000 psig. The two
control panels on the rig have systems or buttons that provide for closing the rams in
‘normal’ or high-pressure mode. The Emergency Disconnect Sequence, Autoshear and
AMF/Deadman all activate the high-pressure circuits to the BSRs. ROV intervention
bypasses the accumulators on the lower BOP and uses pumps and systems ancillary to the
BOP accumulators to function the BSRs. The pressure and flows to close the BSRs using
an ROV are determined by the capability of the ROV and its ancillary systems, not those
of the lower BOP. When activated, the time for the BSRs to close is approximately 25
seconds (other than by ROV).

As noted earlier, at 21:56/57 or approximately six minutes after the first explosion, the
EDS was reported to have been pushed. This was the only recorded activation of a system
on the rig, which would have functioned the high-pressure blind shear ram circuit.
Despite having initiated the EDS, the LMRP did not unlatch from the lower BOP (one of
several EDS functions). Unlatching of the LMRP would have provided the ability to
disconnect the LMRP and riser from the source of well fluids and the move the MODU
from over the well. In addition, the well continued to flow through the BOP stack feeding
the fires on the rig indicating the BSRs had not closed and sealed. At 18.00 on April 21,
the first of several ROV interventions to control the well was initiated. A number of these
interventions were focused on satisfying the conditions required to initiate the
AMF/Deadman or the Autoshear sequences to close the blind shear rams. Despite these
attempts, flow through the BOP stack continued. This indicated the blind shear rams had
either not functioned, or if they had functioned, they did not close fully and seal the well.

On July 16, the flow from the well was stopped after a method termed a ‘top kill’ was
completed. On September 19, Admiral Thad Allen, USCG, announced the well was
effectively dead after a relief well was completed and cement was pumped into the
Macondo 252 well to seal it.

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4 OBJECTIVES AND SCOPE

For this testing and analysis, DNV was asked to determine the performance of the BOP
system during the well control event, any failures that may have occurred, the sequence
of events leading to failure(s) of the BOP and the effects, if any, of a series of
modifications to the BOP stack that BP and Transocean officials implemented. As part of
the foregoing task, the examination sought to determine the following:

If leaks on the BOP were critical to the non-performance during the blowout and
during the ROV intervention attempts

If any modification(s) made to the control logic and stack inhibited the performance
If any other relevant factor, including but not limited to manufacturing defects,
deferral of necessary repairs affecting functionality, and maintenance history
contributed to the BOP’s failure to operate as intended

The scope of the investigation included the following:

Develop and submit for JIT approval a forensic testing plan consistent with the JIT-
provided examination objectives and parameters that included (1) forensic testing
procedures for the BOP Stack and its components in accordance with established and
accepted scientific protocols, methods, and techniques, and (2) processes and
procedures DNV would implement to conform to the protection and preservation of
evidence protocols also to be provided by the JIT

Perform and manage the tests of the BOP Stack and its components

Document and record the testing and all related and supporting steps and procedures,
including the video recording of the examination in its entirety

Conform with the protocols established by the JIT for the proper custody and
documentation of chain of custody of the BOP Stack and its components

Conform with the protocols established by the JIT for the proper protection and
preservation of the evidence, which included all BOP Stack components and
preservation (and, as necessary, replication) of all pertinent physical conditions
associated with those components on the sea floor and otherwise, to the maximum
extent possible, avoid destructive testing

Identify and provide for all specialized third-party (subcontractor) testing and ensure
that this testing was performed in accordance with all established JIT approved
protocols

Execute all necessary agreements to review and utilize proprietary information
Review video of remotely-operated underwater vehicle (ROV) intervention
operations during pertinent times

Review government provided records obtained from the commercial parties relevant
to the BOP and its components, including design specifications, schematics, purchase
orders, maintenance and operating manuals, service records, and other documents

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e Produce a factual report of the testing of the BOP and its components including
review of the ROV intervention operations, conclusions, and professional opinions;
the final report shall include as an index the administrative record of the testing
procedure, including but not limited to, all emails, other electronic media,
videographic and photographic documentation, and other contractor work product

e Testify in public hearings concerning the results of the testing and conclusions

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5 METHODOLOGY

5.1 Evidence Collection and Control

Evidence was in the form of components removed from the BOP and LMRP during the
investigation, items removed from the wellbore of the BOP and LMRP, or samples
collected in the form of scrapings, particles, scale, coating samples, liquids, etc. All
evidence was handled in accordance with the DNV Forensic Testing Plan.

US Coast Guard (USCG) personnel took possession of the evidence for secure storage.
The FBI Evidence Response Team (ERT) recorded and documented all evidence.

The EPA National Environmental Investigations Center (NEIC) provided the primary
support for all fluid samples collected during the investigation. The USCG personnel
took initial custody of the fluid samples. The custody of the fluid samples was transferred
from USCG control to the EPA NEIC for analysis.

5.2. Technical Working Group

The Parties In Interest Technical Working Group (TWG) was made up of technical
representatives from interested parties including: Transocean, BP, Cameron, Chemical
Safety and Hazard Investigation Board (CSB), Department of Justice, and two technical
representatives from the Multi-District Litigation.

Meetings were held with the TWG on a daily basis to review site safety issues and the
testing plan for the day. In addition, meetings were held on Wednesday afternoon to
review the next week’s work plan. Impromptu meetings were held with the TWG, or
individual members of the TWG, to discuss issues as the DNV Investigation Team or the
TWG deemed necessary.

5.3. Investigative Process

The investigative process was an iterative process that integrated the BOP and LMRP
function testing, evidences collection, preservation of evidence (especially the drill pipe
contained in the wellbores of the BOP and LMRP), materials examination and damage
assessment, and video and photo documentation. In addition, as the testing proceeded, the
findings dictated the sequence of steps required to balance further investigations and
activities. Therefore, the protocols in the Forensic Testing Plan were not meant to be a
step-by-step procedure, but rather provided a roadmap for meeting the objectives.
Additional protocols that were outside of the scope outlined in the original testing plan
were submitted to TWG for review and comment and to the JIT for approval. Detailed
procedures to more fully describe a particular testing sequence were required on a routine
basis. These detailed procedures were developed in cooperation between the DNV

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Investigation Team and the TWG. In addition, the performance of these detailed
procedures was documented through notes, photography, and videography.

5.4 Forensic Testing Plan and Protocol Development

The first activity was to develop and submit for JIT approval a Forensic Testing Plan
consistent with the JIT objectives. The Forensic Testing Plan included forensic testing
procedures for the BOP stack and its components in accordance with established and
accepted protocols, methods, and techniques. The Forensic Testing Plan protocol and
procedures conformed to the protection and preservation of evidence protocols agreed
with the JIT. The protocols included professional video recording of the entire
examination and complete photographic documentation.

DNV drafted a Forensic Testing Plan consistent with the examination objectives and
parameters provided by the JIT, which included forensic testing procedures for the BOP
stack and its components. The Forensic Testing Plan was presented in a meeting of the
TWG for the purpose of review and comment.

As a result of the review and comment process, approximately 200 comments were
received. The comments were reviewed by the DNV Team for technical viability,
responses provided, and revisions made where appropriate to the Forensic Testing Plan.
The revised Forensic Testing Plan was approved by the Joint Investigation Team on
October 27, 2010. The approved Forensic Testing Plan is provided as Appendix A.

5.5 Site Preparation

As part of the preparations for receiving the Lower Marine Riser Package and the lower
BOP, the NASA-Michoud facility constructed two test pans on the West Dock of the
facility (see Figure 2). The test pans served two purposes, one to provide the necessary
foundation for the receipt of the two units as they weigh approximately 190 tons each, the
second to provide for secondary containment of any potential spills of hydraulic fluids or
hydrocarbons contained within each of the units. With the removal of the rams and drill
pipe segments, a second secure facility was necessary to carry out required evaluations. A
building on the NASA-Michoud site (Building 411) was identified and prepared for this

purpose.

Activities related to the mobilization included:

e Construction of security fencing around the test site and provision of guards for
verification of permission to enter the test site

e Siting of a trailer to house an office for on-site technical staff and two additional
trailers for evidence storage within the security fence

e Procurement of heavy lift equipment

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e Construction of an enclosure around the BOP and LMRP stacks that was resistant to a
wind loading of 105 mph
e Development and implementation of safety and environmental plans

5.6 Blowout Preventer Functionality

The forensic investigation as described in this report was both video and photo
documented. This documentation was performed from multiple angles and included
close-up documentation where details of specific activities or of specific component
conditions dictated the need.

Video documentation was accomplished through J.A.M. Video Productions. J.A.M. used
Sony A390 Digital Single Lens Reflex cameras with an aspect ratio of 3:2 and a density
of 14 Megapixels per photograph. Each picture was recorded in a compressed jpg format
in addition to a ‘raw’ uncompressed format. A variety of video cameras were used,
including Sony DSR 570 cameras, with an aspect ratio of 16:9 and recording in High
Aspect Definition. Other cameras of various sizes were required and used for
examination and recording of information in areas such as the wellbore and ram cavities.
The need for lighting was assessed and adjusted accordingly as each activity progressed.

Upon receipt of the BOP Stack at the site, a visual examination was performed. Part and
serial numbers that were visible were recorded. Internal components of the BOP Stack
were examined using a camera and video borescope.

The hydraulic circuits on the BOP Stack were examined and compared to the most recent
working drawings, dated 2004. Modifications and ROV interventions as observed were
documented on the 2004 working drawings (Appendix B).

The forensic testing of the BOP Stack was performed in accordance with the Forensic
Testing Plan for the Forensic Investigation and Testing of the Blowout Preventer &
Lower Marine Riser Package Ref — M10PS00234 (Appendix A) and commenced on
November 15, 2010. In certain instances, decisions were made to deviate from the
original test plan following discussions with the TWG and approval by the JIT where
appropriate. From the period of November 15, 2010, to December 23, 2010, the
following activities were undertaken:

e Determination of the final position of the annular preventers and rams

e Examination of the condition of the BOP and Lower Marine Riser Package (LMRP)
wellbores, rams, and annulars

e Removal of drill pipe from the BOP and LMRP

On December 23, 2010, the forensic investigations and testing stopped for enclosure
construction. A temporary enclosure was constructed over and around the LMRP and

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BOP on the West Dock. Construction started on December 27 and continued on through
January 28, 2011.

During the enclosure construction period the drill pipe segments and rams were moved to
Building 411 for cleaning and examination. Following preliminary investigation of the
drill pipe removed from the BOP, LMRP and Riser, prioritizations were discussed with
the TWG members, agreed and then approved by the JIT. The purpose for prioritization
was to focus the remaining function testing on certain critical functions and circuits that
were involved in the attempts to control the well during the first two days following the
-blowout of the well and prior to the rig sinking. Testing at the West Dock test site
restarted on January 28 and continued through to March 4, 2011, when the last series of
tests were completed.

5.7 Materials Evaluation and Damage Assessment

Materials evaluation included (1) cleaning and examining the BOP rams, (2) cleaning and
examining drill pipe segments removed from the BOP and LMRP, (3) cleaning and
examining miscellaneous components extracted during the removal of the rams, and (4)
sifting through viscous material(s) collected from different ram cavities and the wellbore
and collecting and cleaning all solid objects found. Evidence collection included scale
and debris from surfaces where appropriate. In addition, for the drill pipe recovered from
the LMRP, swabs of the surface for microbiologically influenced corrosion (MIC) testing
were performed.

Damage assessment was performed by several methods including (1) visual inspection
and photo documentation, (2) dimensional measurements, and (3) three-dimensional laser
scanning to characterize the as-received condition of the components. Laser scanning for
the BSRs, CSRs, and VBRs recovered from the BOP and for all segments of drill pipe
recovered from the BOP, LMRP, and Riser was performed with a FARO Laser
ScanARM scanner. The ScanARM scanner is accurate up to +0.0014 inches. Laser
scanning for select areas of the wellbore was performed with a Nextengine HD Scanner.
The HD Scanner is accurate up to 0.005.

Samples were removed from each recovered drill pipe segment to examine the
metallurgical and chemical properties of the pipe. Samples were removed from two of the
recovered drill pipe segments to examine the mechanical properties (tensile and
toughness). The samples to test the mechanical properties were taken from areas
representative of the two joints of drill pipe recovered.

Miscellaneous pieces of solid materials/objects were recovered at different stages of the
investigation. These materials/objects were inspected, cleaned and entered into evidence
indicating the area from which they were recovered. The viscous material collected from
different locations was sifted using a 1/4-inch screen. Solid materials/objects were
removed, inspected, cleaned, and entered into evidence.

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Structural analysis and modeling was used to simulate drill pipe behavior within the
wellbore. The modeling package used was ABAQUS™.

5.8 Document Review

The document investigation was implemented by reviewing documents from various
information sources. Sources included publicly available information and Government-
provided records. Information was available regarding the BOP stack, BOP components,
and the events leading up to, during, and following the incident. A comprehensive list of
the documents reviewed is provided in Appendix C.

All received documents were initially reviewed by the document investigation team for
content and relevance. Documents considered of interest or key to the BOP forensic
investigation were subsequently examined in further detail.

The document investigation had three objectives:

e To create a timeline of events prior to, during, and subsequent to the Deepwater
Horizon incident that occurred on April 20, 2010

e To provide on-going specific document review support to efforts toward the BOP
Functionality testing, the Materials Evaluation and Damage Assessment, and the
Cause Analysis

e To identify relevant documents regarding the working configuration of the BOP stack
at the time of the incident

5.9 Remotely Operated Vehicle Intervention Operations Review

Remotely Operated Vehicle intervention video footage and still photographs were
provided from several ROVs; the Millennium 36 and Millennium 37 from the Boa Sub C,
the C-Innovation from the C-Express, and the Hercules 6 and Hercules 14 ROVs from
the Skandi Neptune. Other video footage was made available and reviewed on an “as
requested” basis.

The ROV video footage was reviewed with two objectives:

¢ Toconfirm the times, dates and activities referenced by other sources for the purpose
of substantiating and illustrating timeline events

¢ To provide ongoing ROV video review support to confirm observations related to the
BOP condition, the origin of leaks and modifications to the hydraulic circuitry

e To assess the impact of various ROV interventions undertaken to try and control the
well

The ROV footage of primary interest was from the C-Innovation, Millennium 36, and
Millennium 37. These three ROVs performed significant interventions following the

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incident. Dive logs were reviewed in detail and log entries of specific interest to the
condition of the BOP were identified. Such log entries included monitoring of various
BOP components, intervention efforts (cutting of the Autoshear pin, ROV hot stab,
cutting of hoses, etc.) and identification and repair of leaks in the hydraulic systems.
Specific successes/failures during the intervention efforts as well as general observations
of BOP condition were noted.

The ROV intervention times and activities were cross-referenced to other supporting
documentation where possible. Discrepancies identified were flagged for later
confirmation. Times, dates and activities were then included in the “master” timeline that
was developed as part of the document review task.

Information relevant to the BOP functionality testing task was relayed to project team
members on site in New Orleans. As function testing evolved, requests were made by the
project team members in New Orleans to review specific footage relating to the repair of
leaks in the hydraulic system to assist in the testing program. In addition, the ROV
intervention efforts were re-evaluated following retrieval and metallurgical analysis of
the drill pipe, to support the overall effort of determining the sequence of key events that
occurred both during and following the incident.

5.10 Failure Cause Analysis

The failure analysis approach used was based on the Systematic Causal Analysis
Technique (SCAT™). The technique was developed by DNV to analyze the causes of
failures and to assist in making recommendations to prevent future incidents.

The process involved development of a timeline, identification and investigation of key
events, determination of both immediate and basic causes of failures, and rationalization
and consolidation of causes.

The sequence of events allowed a list of possible contributing causes to be developed.
BOP function testing results and information provided by the detailed timeline were then
considered. Some possible contributing causes could then be eliminated. The nature of
the evidence and the results of the examinations and testing allowed several conclusions
to be considered.

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6 FINDINGS

6.1 Blowout Preventer Function Testing

This section describes the testing performed on the BOP, LMRP, Yellow and Blue
Control Pods and associated components.

6.1.1 Video and Photographic Documentation

In general, video cameras were set up to record ram movement, various pressure gauges,
and other relevant features for specific BOP function tests. Still photography was used to
document test results, rams, debris and drill pipe removed from the BOP and LMRP.

At the beginning of each day of testing, the schedule of planned activities was reviewed
and the video and photo documentation plan for the day was established for the video
teams. In addition to the video teams, individual investigators on the DNV Project Team
requested and obtained photo documentation of activities on which they were working.
All video and photo documentation was logged, backed up and stored in a secure
location.

6.1.2 Visual Examination

Visual examination was performed of the external and internal surfaces of the BOP and
the LMRP, in the as-received condition at the Michoud facility in New Orleans and as
function testing progressed. The purpose of these examinations was to:

e Identify and record visible damage to the major elements and various components
that comprise the BOP stack and LMRP

e Identify and record variations between the design of the BOP stack and LMRP as
received at the Michoud facility and the original design as per various Cameron
drawings

e Record externally visible serial/identification numbers on external components of the
BOP and LMRP

e Identify and record the contents or materials that were located within the wellbore or
central cavities of the BOP and the LMRP

e Identify and determine best method to extract the materials (including drill pipe)
located within the wellbore or central cavities of the BOP and the LMRP

e Assist with planning the sequence of some of the subsequent inspections or tests that
were completed as part of the forensic investigations

Table 1 details the ram and annular preventer positions as received and as function testing
progressed for both the BOP and LMRP.

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Table 1 Summary of Annular and Ram Positions As Received at Michoud Facility

Ram or Annular Position
Upper Annular Closed
Lower Annular Open
BSRs Starboard Closed
Port Open
CSRs Starboard Open
Port Open
Starboard Closed
Upper VBRs Port Closed
. Starboard Closed
Middle VBRs Port Closed
Starboard Closed
Lower VBRs Port Closed

Additional findings relevant to the forensic investigation are discussed in other sections
of this report.

6.1.3 Fluid Collection and Analysis

Fluid sampling was performed throughout the BOP function testing. Samples were
collected from hydraulic circuits, from debris found in the BOP and LMRP wellbore and
during the removal of the ram blocks. The BOP and LMRP wellbores were both filled
with StackGuard upon arrival at the Michoud Site to provide some protection against
degradation of evidence. It was necessary to remove the StackGuard in order to perform
visual examination, function testing and retrieval of drill pipe and debris from the
wellbores.

Samples of the StackGuard from both the BOP and LMRP were collected during the
draining of the wellbores. Samples were collected either directly into sterile containers or
captured in sterile plastic lined trays and transferred to sterile containers. Samples were
catalogued and sealed for further analysis before removal to a secured storage location.
Samples were collected either under the supervision of the Environmental Protection
Agency (EPA) or in accordance with EPA recommended sample protocols. A list of all
samples collected is contained in Appendix D.

Twenty-three samples of fluids collected from the lower BOP and the LMRP were
analyzed at the EPA’s National Enforcement Investigations Laboratory in Denver,
Colorado. The samples submitted for analysis were from the ST Lock operator and hoses,
the open and close operators of the BSRs, CSRs and VBRs and one sample from the
LMRP. The EPA also obtained a representative sample of the ethylene glycol based

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hydraulic fluids “StackGuard” and “Aqualink 325-F” from the manufacturer and
analyzed each of these to serve as a reference. Three ‘travel blanks’ all consisting of one
liter of reagent grade water that were then shipped or transported to the Denver laboratory
along with the other samples were also analyzed. All the samples were analyzed using the
following techniques’:

e Water Content by Coulometric Karl Fischer Titration

e Ethylene glycol and 2-butoxy ethanol by Gas Chromatography/Mass Spectrometry

e Percent solids analysis by refractometer

e Dissolved elemental constituent analysis by EPA Method 200.7

e Dissolved bromine analysis by Inductively Coupled Plasma Mass Spectroscopy

e Dissolved anion analysis by EPA Method 300.0, Part A

¢ Monoethanol amine and triethanol amine by Liquid Chromatography/Mass
Spectrometry

e Organic constituent analysis by Nuclear Magnetic Resonance Spectrometry,

e Organic constituent analysis by Raman Spectroscopy

6.1.4 Drill Pipe Removal

Pieces of drill pipe were present upon arrival at the Michoud site in the BOP, LMRP (one
piece in each) and Riser segment recovered prior to retrieval of the stack. Removal and
preservation of these pieces of drill pipe was given priority in the forensic investigation.

6.1.4.1 Removal of Drill Pipe from LMRP

The drill pipe segment lodged in the Upper Annular was inspected following draining of
the LMRP and removal of the flex joint from the UA. The upper portion of the drill pipe
segment was deformed so that it was significantly out of round. An unsuccessful attempt
had been made subsea prior to retrieval of the stack to remove this segment, resulting in
the piece slipping down and wedging into the metal fingers of the UA packing element.
There was insufficient length of the drill pipe segment above the packing element fingers
to secure a safe hold for lifting the segment out of the LMRP. A tool was designed and
fabricated such that it could be inserted into the flared end of the drill pipe segment,
lowered past the deformed portion and rotated 90° to lock into place on the inside
diameter (ID) of the pipe. Wood wedges were inserted between the tool and the drill pipe
ID to prevent the tool from rotating during removal. The drill pipe was removed from the
LMRP wellbore using a mobile crane. After removal it was moved to a secure storage
facility for further examination.

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6.1.4.2 Removal of Drill Pipe from BOP

The drill pipe segment in the BOP wellbore was located just below the CSRs and was
held in place by the closed Upper and Middle VBRs. The end of the drill pipe segment
nearest the CSRs was packed with pieces of debris. An initial attempt was made to collect
a sample of this debris first with a poly-vinyl chloride pole and then with an aluminum
pole. Both attempts were unsuccessful. It was determined that the debris was tightly
packed and would not become dislodged. The decision was taken to remove the drill pipe
segment and collect a sample of the debris afterwards. The Upper and Middle VBRs had
to be retracted and removed in order to secure a safe hold on the drill pipe segment. There
was a significant amount of cementitious material in the wellbore between the Upper and
Middle VBRs that had to be chiseled out and removed by hand before the Middle VBRs
could be retracted. Extensive damage had occurred on the drill pipe segment where the
Upper and Middle VBRs were closed around the drill pipe. It was necessary to use two
lifting slings on the drill pipe to ensure that it would not be further damaged during
removal. It was lifted from the BOP wellbore using a mobile crane. No debris fell from
the drill pipe during removal from the BOP wellbore. After removal the drill pipe was
moved to a secure storage facility in anticipation of further examination.

6.1.4.3. Removal of Drill Pipe from the Riser

One section of riser from the Deepwater Horizon was present that contained drill pipe
that was relevant to the investigation. This section of riser came from the last riser joint in
the drilling riser string that was connected to the Flex Joint atop the LMRP. This joint of
riser “kinked” when the Deepwater Horizon sank. During ROV intervention this joint
was saw cut and subsequently mechanically sheared just above the Flex Joint interface.
The recovered riser section was from above the mechanical shear point and contained the
“kink” and approximately 45-ft of riser above the “kink”. Prior to DNV’s involvement in
the investigation, “windows” were cut into the riser such that some portions of the pieces
of drill pipe were exposed. In the window nearest the bottom of the riser section (nearest
to the BOP Stack), two drill pipe sections were visible in the riser. For the window
nearest the top of the riser section (farthest from the BOP Stack), only one section of drill
pipe was present.

A borescope was inserted into the riser section in order to examine the exterior surface of
the drill pipe pieces and determine if any obstructions were present. Following the
borescope inspection, a series of cuts was defined in order to remove the drill pipe pieces
from the riser. All cuts with the exception of the final cut were made with an
oxyacetylene torch. The final cut was made using a saw. Following completion of the
cuts, the drill pipe pieces were removed from the riser sections using a mobile crane and
lifting straps. The pieces were transported to a secure storage facility for further
examination.

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6.1.5 ST Locks

This section describes the testing performed on the ST Locks located on the hydraulic
operators of the BSRs, Upper, Middle and Lower VBRs. ST Locks are designed to
provide a mechanical lock and maintain the closed position of the ram blocks even if
hydraulic pressure is bled off the operator. Fluid samples were collected from all of the
ST Locks. The as received positions of all ST Locks were measured.

The position of each ST Lock was determined by measuring the position of the wedge
lock piston through an inspection plug located on the opening chamber endcap of the ST
Lock assembly. Prior to measurement, it was necessary to drain fluid from each ST Lock
assembly. Fluid samples were collected during the draining process. Measurements were
obtained by inserting a calibrated ruler through the inspection plug port until it contacted
the flat face of the opening side of the wedge lock piston. ST Lock position measurement
commenced on the starboard side Lower VBR and progressed up the starboard side to the
BSR. Measurement then continued on the port side, beginning with the BSR and
progressing down the port side to the Lower VBR. Two measurements were taken at each
location.

wedge lock piston

% i i
closed or locked position
% t f

. . ram tailrod
inspection

plug “\,

Se

= open or unlécked position

ee

Figure 7 ST Lock Measurements

Figure 7 illustrates the measured features and reference point (inspection plug port). The
length of the measurement indicates the position of the ST Lock and gives an indication
of the ram block position. Measurements in the range of 14 inches indicate the wedge
lock piston is in the open position. Measurements in the range of 3 to 5 inches indicate
the wedge lock piston is in the closed position and the ram block is extended into the
wellbore at or near the fully closed position. Variances in measurements are a result of

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two effects: (1) different types of rams (BSRs or VBRs) have different close positions
and (2) opposing ram blocks are not perfectly centered when closed. For the former
effect, different types of rams have different stand-off or gaps between opposing ram
blocks when in the closed position. This means that the hydraulic pistons in the ram
operators end up at different positions when fully closed depending upon the ram type.
For the latter effect, opposing ram blocks travel at slightly different rates when stroking
closed. One ram block will always reach the wellbore center first and therefore will have
stroked slightly further closed than its counterpart. These piston positions are rarely equal
and subsequently it is not abnormal for the positions of the wedge lock pistons to be
unequal. Table 2 shows the results of the ST Lock position measurements.

Table 2 ST Lock Position Measurements

Measurement of Wedge Lock Piston
Ram Type (inches)
Starboard Port

BSRs 14-5/8 14-5/8 14-5/8 14-5/8
Upper VBRs | 4-15/16 | 4-15/16 3-3/8 3-3/8
Middle VBRs | _3-7/16 3-7/16 4-1/2 4-1/2
Lower VBRs 5-3/8 5-3/8 14-3/16 | 14-3/16

The results of the measurements indicated that the ST Locks for the BSRs were fully
open (unlocked). The ST Locks for the Upper and Middle VBRs were in the closed
(locked) position. For the Lower VBRs, the port side ST Lock was closed (locked) and
the starboard side ST Lock was in the open position (unlocked). Even though the
starboard side ST Locks on both the BSRs and the Lower VBRs were unlocked, the ram
blocks themselves were found in the closed position (reference Table 1).

Functioning of the ST Locks was performed in conjunction with ram block functioning.
Discussion of pressures required to function the ST Locks can be found in Section 6.1.7:

6.1.6 Lower Choke and Kill Valves

The Lower Inner and Outer Choke and Kill Valves were functioned opened in order to
access and drain wellbore fluid from the BOP stack. The Lower Choke Valves are
connected to the BOP Stack, intersecting the wellbore just below the Middle VBRs. The
Lower Kill Valves are connected to the BOP Stack, intersecting the wellbore just below
the Lower VBRs. The Choke and Kill Valves are fail-safe close, meaning continuous
hydraulic pressure is required to hold the valves open. A spring system in the hydraulic
actuators closes the valve upon loss of hydraulics. The Inner and Outer Valves (both
Choke and Kill) function as a pair with interconnected hydraulics. All of the Choke and
Kill Valves were found in the closed position as received. The Lower Choke Valves were
opened first on December 3, 2010. The maximum pressure applied was 500 psig. The
Lower Kill Valves were opened on December 7, 2010. The maximum pressure applied

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was 1,000 psig. No abnormalities were observed in the functioning of the Lower Choke
and Kill Valves.

6.1.7 Functioning and Removal of Ram Blocks

As part of the process for visual examination and removal/extraction of materials
(including drill pipe) located within the wellbore or central cavities, the ram blocks for
the BSRs, CSRs, Upper, Middle and Lower VBRs were removed in sequence from top to
bottom.

6.1.7.1 Ram Operator Fluid Sampling

Prior to any functioning, fluid samples were obtained from the ram operators. Samples
were taken through fluid ports intersecting the opening and closing chambers by removal
of National Pipe Thread (NPT) hex plugs. These locations were chosen deliberately as
access points that were undisturbed since installation during the manufacture/assembly of
the BOP. The NPT hex plugs were first visually examined for any indication of leakage.
Due to the long-term undisturbed condition, the hex plugs required heating up with a
MAPP® torch and break-out with an impact wrench.

Fluid sampling commenced with the starboard BSR. Sampling moved to the port BSR,
and down the port side of the BOP on the Upper, Middle and Lower VBRs. Sampling
continued with the starboard Upper VBR and continued down the starboard side
concluding with the Lower VBR. Samples were obtained from the open and close sides
of the port and starboard operators for the Upper, Middle, Lower VBRs. Only samples
from the port open and close side and the starboard close side of the BSRs operators
could be obtained. Attempts to draw a fluid sample from the open side of the starboard
operator for the BSRs were unsuccessful.

6.1.7.2 Preparation for Ram Block Removal

Prior to the functioning of any of the rams, the bonnet cap nuts that connect the ram
bonnets to the body of the BOP were first loosened and removed. The breakout torques
required to loosen the bonnet cap nuts were recorded and are listed in Appendix E.

After the bonnet cap nuts were removed, extension sleeves were installed to act as both a
guide and support for the bonnets. High pressure hoses were installed on both the open
and close shuttle valves. A pressure chart, gauges, and flow meter were installed to
monitor the pressure and volume used during the operating of the rams.

6.1.7.2.1 BSRs and CSRs

Since the starboard side BSR had not successfully opened when functioned on the Q-
4000, it was decided to remove the port side BSR first and perform a visual inspection of
the starboard side BSR to determine if there was any debris or damage causing the ram

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not to move. Jn order to prevent the port side ram from extending into the wellbore and
potentially contacting the starboard side ram, the port side bonnet had chain falls
connected and tensioned to ensure that the port side bonnet would move back instead of
the port side ram moving into the wellbore. The bonnet nuts were kept on the starboard
side bonnet to keep it from opening. Hydraulic pressure was applied to the close shuttle
valve of the BSRs and the port side bonnet opened. Debris was removed from the ram
cavity as the bonnet opened, captured in a plastic lined tray, transferred to sterile
containers and removed to a secured storage location. A sled was positioned between the
port side bonnet and BOP to prevent the bonnet from closing while supplying open
pressure. Open pressure was supplied through the open shuttle valve to retract the port
side ram from the BOP cavity. The port side BSR was removed and lowered to the
ground. It should be noted that when open pressure was supplied through the open shuttle
valves, hydraulic pressure was applied to both BSRs. As with previously on the Q-4000,
the starboard side BSR did not retract from the wellbore.

Following removal of the port side BSR, a visual inspection of the underside of the
starboard side BSR did not reveal any damage which could explain the reason for not
retracting. The starboard side bonnet bolts were removed and hydraulic pressure was
applied to the close shuttle valve of the BSRs. The starboard side bonnet fully retracted.
Debris was removed from the ram cavity as the bonnet opened, captured in a plastic lined
tray, transferred to sterile containers and removed to a secured storage location. A sled
was positioned between the starboard side bonnet and BOP to prevent the bonnet from
closing while supplying open pressure. Open pressure was supplied through the open
shuttle valve to retract the starboard side ram from the BOP cavity. After debris was
removed from behind the ram block, the starboard side BSR was retracted, removed and
lowered to the ground.

The CSR bonnets were opened manually using chain falls. Once the CSR bonnets are
opened, the ram blocks are normally extracted by removing a pin that fastens the ram
block to the operator connecting rod. This pin on the port CSR was bent. The pin on the
starboard CSR was broken. The port CSR was lifted slightly with slings to remove the
weight and binding on the connecting rod and the pin was able to be removed. Opening
pressure was applied to retract the connecting rod from the ram block. It took less than
50 psig to retract the connecting rod. When opening pressure was applied to the starboard
CSR (in an attempt to retract the connecting rod), the connecting rods seals leaked
hydraulic fluid. In order to remove the starboard CSR, the block was first fully extended
closed (using less than 50 psig). During extension, the entire wellbore-side connecting
rod seal assembly came out of the bonnet. No retainer ring was present to hold the seal
assembly in place. Once the block was fully extended, hydraulic bottle jacks were fitted
between the back of the block and bonnet face using wood for spacers. The block was
jacked forward away from the bonnet face, shearing the remainder of the broken pin and
moving the block off the connecting rod. The connecting rod was retracted with less than
50 psig opening pressure. A damaged connecting rod seal was observed on the starboard
CSR. Once free of the connecting rods, the rams were lowered to the ground.

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6.1.7.2.2, Upper, Middle and Lower VBRs

The following procedure was used for all the VBRs. Pressure was first supplied to the
close shuttle valve. Close pressure resulted in the bonnets moving open onto the
extension sleeves. Debris found behind the blocks were removed from the ram cavity (as
the bonnets opened) and captured in a plastic lined tray. After opening the bonnets, a sled
was positioned between each bonnet and BOP to prevent the bonnet from closing while
supplying open pressure. Open pressure was supplied through the open shuttle valve to
retract the rams. Once retracted, lifting eye bolts were connected to each ram and the
rams were moved off the connecting rods. Once free of the connecting rods, the rams
were lowered to the ground.

After all ram blocks had been removed to ground level, they were cleaned and moved to
Building 411 for further examination.

Table 3 details the pressures required to function the various rams. Pressures indicated
with an asterisk were observed and recorded minimum pressures when the specific ram
block began moving, otherwise the pressure indicated is the maximum pressure recorded
during function.

Table 3 Pressure Required to Function Rams

Starboard Close Starboard Open Port Close Port Open
Ram . . . :
(psig) (psig) (psig) (psig)
BSR 800* 50* 300* 50*
CSR less than 50 less than 50 No Presstre less than 50
applied
Upper
VBR 1,400 1,100 1,400 1,100
Middle * *
VBR 700 600 800 600
Lower * * * x
VBR 700 800 600 800

* Minimum pressure observed during the function.

6.1.8 AMF/Deadman and Autoshear Testing — Hydraulic Circuits

The automatic mode function (AMF)/Deadman and Autoshear function testing was
designed to simulate two of the sequences that can automatically secure the well using
the BOP stack during an emergency situation. The sequences are described below and
discussed in additional detail later in this report. In accordance with API 16D, Section
5.2.1 *Response Time (for subsea BOP Stack control systems), the closing response time
for each ram BOP must not exceed 45 seconds for the primary control system.

3 API SPEC 16D Specification for Control Systems for Drilling Well Control Equipment and Control Systems
for Diverter Equipment, Second Edition

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AME/Deadman and Autoshear systems are considered by API 16D to be backup control
systems and not subject to the response time requirement of the primary system. For
purposes of these hydraulic circuit tests, the 45-second response was adopted as a
comparison target for the closing of the BSR connecting rods,

The AMF/Deadman sequence is designed to be initiated when three forms of supply are
all lost from the rig to the control pods; hydraulic pressure, electrical power, and
communication from rig control systems. Additionally, these conditions (loss) must apply
to both pods for AMF/Deadman to activate. Hydraulic pressure is supplied through the
rigid conduit. Electrical power and control system communication are supplied through
the MUX cables. Communication between the two pods to verify the status of hydraulic
pressure and the MUX cables for each pod is accomplished through an RCB cable.
AMF/Deadman is controlled through the subsea electronic modules (SEMs) on the
Yellow and Blue Pods. When the AMF/Deadman sequence is activated the BSRs are
closed via the high pressure shear circuit with hydraulic fluid supplied by a dedicated
bank of 8 x 80-gallon accumulators on the BOP.

The Autoshear sequence is designed to be initiated when the LMRP and BOP Stack
become unintentionally separated. A hydraulic plunger is fixed between the LMRP and
BOP Stack which maintains pressure and holds a control valve in closed position. When
separation occurs, the plunger is released and relieves the hydraulic pressure on the
control valve. A spring return on the control valve shifts, sending a pilot signal to open a
high pressure shear control valve and send hydraulic supply from the high pressure shear
circuit to the closing ports of the BSRs. The Autoshear function has to be intentionally
armed; otherwise, the hydraulic supply from the high pressure shear circuit is blocked by
another control valve. The unintentional separation between the LMRP and BOP Stack
also results in the Choke and Kill valves functioning close (fail-safe close).

6.1.8.1 Accumulator Functioning

The AMF/Deadman and Autoshear tests relied on the accumulator bottles (8 x 80 gallon)
located on the BOP. The accumulator bottles consist of a nitrogen gas pre-charge side
and a hydraulic chamber. The level of nitrogen pre-charge determines both the amount of
hydraulic fluid (volume) and the average pressure the fluid can be delivered to a given
function. There is a direct relationship between the nitrogen pre-charge level and the
amount of hydraulic fluid that can be put into the hydraulic chamber. The pre-charge
level is set to provide a balance between available volume at an average useable pressure.

The AMF/Deadman and Autoshear sequences were tested both in the as-received
condition and in a reduced accumulator pre-charge condition. The as-received condition
was tested first and then nitrogen was bled from the accumulator bottles to reduce the
pre-charge pressure to compensate for lack of external hydrostatic pressure (subsea
conditions at a water depth of approximately 5,000 feet).

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6.1.8.1.1 As-Received Condition

The as-received pre-charge pressures in the high pressure shear circuit bank (8 x 80
gallons) on the BOP and the accumulator bank (4 x 60 gallons) on the LMRP were
measured and recorded. Following the initial measurement, the accumulator dump
function was performed for both banks in order to remove any hydraulic fluid that may
have been present in the accumulators. There was no hydraulic fluid in the high pressure
shear circuit bank. Hydraulic fluid present in the LMRP accumulator bank was sampled
for further examination and the remainder collected for proper disposal. The existing pre-
charges were then re-measured without any hydraulic fluid present. The pre-charge in the
high pressure shear circuit bank (8 x 80 gallons) on the BOP ranged from 3425 to 3800
psig. For the accumulator bank (4 x 60 gallons) on the LMRP, the pre-charge in three of
the accumulators ranged from 3400 to 3425 psig. The pre-charge in the fourth (labeled
accumulator #1) was 1225 psig. The measured pre-charge was in proximity to levels set
in accordance with the guidance provided in Transocean’s Well Control Manual (i.e.,
1500 psig [~1/3 of the pressure for the high pressure shear circuit of 5000/4000 psig] plus
the hydrostatic head of 2200 psig = 3700 psig). The only exception was accumulator #1
of the LMRP accumulator bank. The results are detailed in Appendix E.

6.1.8.1.2 Reduced Pre-Charge Condition

After completing measurements of the as-received pre-charge levels and performing
AMF/Deadman and Autoshear sequence tests, the accumulator pre-charges were set to
between 1,325 and 1,350 psig to compensate for operating at surface conditions (lack of
external hydrostatic pressure from subsea conditions at a water depth of approximately
5,000 feet). The accumulator pre-charges were reduced by bleeding nitrogen from each
accumulator. After the pre-charges were reduced, the accumulators were tested for leaks
and pressure drop-off by checking the pre-charge levels after allowing the accumulators
to settle for a period of approximately 12 hours. No leaks were observed.

6.1.8.1.3 BOP Accumulator Pressurization

The BOP accumulators (high pressure shear circuit bank) were hydraulically filled and
pressurized in preparation for each AMF/Deadman and Autoshear function test. During
the first pressurization of the BOP accumulators, a leak was discovered on the High
Pressure (HP) Casing Shear Regulator. The pressure in the accumulators at the time of
leak discovery was 3,500 psig.

It was decided to perform a static pressure test on the HP Casing Shear Regulator.
Pressure was increased on the BOP accumulators and a leak containment device was
installed below the HP Casing Shear Regulator. A video camera was used to monitor the
leak rate of the HP Casing Shear Regulator during the entirety of the static pressure test.

At the conclusion of the test, the pressure in the BOP accumulators had dropped from
3,700 psig (start of test) to 400 psig. Approximately 1.5 gallons of fluid leaked from the

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HP Casing Shear Regulator. The leak rate at the start of the test and was 144 drops per
minute. The leak rate at the end of the test was 86 drops per minute. All leak rates were
determined from review of video footage. The duration of the test was approximately 15
hours and 40 minutes.

The HP Casing Shear Regulator was removed in order to prevent the potential for
damage that could occur during function testing. In the place of the regulator, a pressure
gauge and plug were installed to permit continuation of the function testing.

The static pressure test of the BOP accumulators was re-run overnight. The starting
pressure was approximately 4,000 psig. The pressure did not change from the beginning
to the end of the test. The duration of the test was approximately 14 hours and 22
minutes.

After completing the static pressure test, the BOP Accumulators were pressurized to
5,000 psig to prepare for function testing. A pressure gauge installed between the
Autoshear panel and the Autoshear control read 0 psig during pressurization of the
accumulators to 5,000 psig, confirming that the Autoshear function was in the disarmed
state in the as-received condition. The Autoshear function was likely disarmed after the
Control Pods were retrieved by the Q-4000.

Preceding each AMF/Deadman and Autoshear test, the BOP accumulators were drained
of hydraulic fluid and then re-pressurized to 5,000 psig.

6.1.8.2 AMF/Deadman Testing

The hydraulic circuit portion of the AMF/Deadman function testing focused on the actual
sequence of hydraulic functions that occur on the lower BOP during AMF/Deadman, not
the electronics of the AMF/Deadman function. See Section 6.1.13.1 for detailed
information regarding the electronic function testing. The AMF sequence of hydraulic
functions is comprised of high pressure shear close (including ST Locks—lock), control
pod LMRP and Stack Stingers extend and seals energized. These functions are initiated
through the high pressure shear control valve on the high pressure shear circuit. The ST
Locks-—lock is integrated into the high pressure shear circuit and is supplied hydraulically
when the AMF/Deadman activates through Solenoid 103. To simulate the initiation of an
AMF/Deadman sequence, a high pressure hydraulic hose was connected to either the blue
or yellow side of Solenoid 103. This was used to supply pilot pressure to high pressure
shear control valve. Additional hoses and pressure gauges were installed on the
connected hydraulic circuits to monitor and record the test results. In addition to the
installed hoses and pressure gauges, video cameras were arranged to monitor the position
of the connecting rods and the readings on the pressure gauges.

Pressure gauges were installed on the port and starboard ST Lock hoses, on the high
pressure shear/BSR close hydraulic hose, at the removed casing shear regulator to
~ monitor accumulator pressure, between the Autoshear panel and Autoshear control valve,

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and at the manifold connected to the hydraulic pressure unit used to pressurize the
accumulators and initiate the function.

The hydraulic fluid supplied from the BOP accumulators to close the BSRs is regulated
to 4,000 psig through the high pressure shear regulator. The hydraulic fluid supplied from
the BOP accumulators to function ST Locks—lock is regulated to 1,500 psig through the
ST Locks pressure regulator. The maximum pressure that each hydraulic circuit received
from the accumulators was recorded.

6.1.8.2.1 AMF/Deadman Testing — As-Received Pre-Charge

The AMF/Deadman sequence was initiated using the as-received pre-charge and the
accumulators filled and pressurized to 5,000 psig hydraulic pressure. The maximum
pressure shown on the BSR pressure was 3,850 psig. The BOP accumulator pressure after
the function was 4,475 psig. The BSRs closed in 23 seconds. The maximum pressure
shown on the pressure gauges for the starboard BSR ST Lock was 1,500 psig and 1,525
psig for the port BSR ST Lock. The starboard BSR ST Lock position was 3-5/8 inches
and the port BSR ST Lock position was 3-3/8 inches. This confirmed that both BSR
connecting rods were in the closed position. The volume to close was 26.4 gallons. The
sequence test functioned as intended.

6.1.8.2.2 AMF/Deadman Testing — Reduced Pre-Charge

The AMF/Deadman test using reduced pre-charge was run twice. During the first test a
small leak was discovered between the test hydraulic supply line and AMF shuttle valve
caused during test setup. The leak allowed the residual BOP accumulator pressure to vent
to atmosphere after the test sequence was completed. The leak was corrected and a
second test was run in order to capture an accurate residual pressure reading.

6.1.8.2.3 Test 1

The AMF/Deadman sequence was initiated using the reduced pre-charge and the
accumulators filled and pressurized to 4,975 psig. The BSR connecting rods closed in 24
seconds. The maximum pressure shown on the BSR close pressure gauge was 3,900 psig.
The BOP Accumulator pressure after the function was not able to be measured due to
fluid being discharged from the high pressure blind shear vent. The maximum pressure
shown on the starboard BSR ST Lock was 1,460 psig and 1,450 psig on the port BSR ST
Lock. The BSRs were confirmed visually closed using a video camera in the wellbore.
The volume to close was 25.3 gallons. The sequence test functioned as intended.’ The
leak in the test hydraulic line/AMF shuttle valve interface was discovered after the
sequence had completed.

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6.1.8.2.4 Test 2

The AMF/Deadman sequence was initiated using the reduced pre-charge and the
accumulators filled and pressurized to 5,000 psig. The maximum pressure shown on the
BSR close pressure gauge was 3,800 psig. The BOP accumulator pressure after the
function was 4,125 psig. The BSR connecting rods closed in 24 seconds. The maximum
pressure shown on both the starboard and port BSR ST Locks was 1,400 psig. The BSR
connecting rods were confirmed visually closed using a video camera in the wellbore.
The volume to close was 24.4 gallons. The sequence test functioned as intended.

6.1.8.3 Autoshear Testing

The Autoshear function was initiated by supplying pilot pressure through either the Blue
or Yellow Pod side of Autoshear Arm shuttle valve 121. Since the hydraulic plunger was
cut by ROV intervention, the spring return control valve was in the open position. By
activating Autoshear Arm, pilot pressure was supplied through the control valve to the
high pressure shear pilot valve.

6.1.8.3.1 Autoshear Function Testing — As-Received Pre-Charge

The Autoshear function was initiated using the existing pre-charge and the BOP
accumulators filled and pressurized to 5,000 psig. The BSR connecting rods closed in
28 seconds. The highest pressure recorded on the Autoshear valve pressure gauge was
3,150 psig. The highest pressure recorded on the HP BSR close gauge was 3,800 psig.
The maximum pressure on both the starboard and port BSR ST Lock pressure gauges was
1,500 psig. The starboard BSR ST Lock position was 3-5/8 inches and the port BSR ST
Lock position was 3-5/16 inches. This confirmed that both connecting rods were in the
closed position. The volume to close was 28.1 gallons. The sequence test functioned as
intended.’

6.1.8.3.2 Autoshear Function Testing —- Reduced Pre-Charge

The Autoshear test using reduced pre-charge was run twice. After the first test, during
dump of the accumulator pressure, a return hose to a fluid tank became unsecured and an
unknown volume of fluid was lost. A second test was run in order to obtain an accurate
reading of fluid returned after sequence test and accumulator dump.

6.1.8.3.3 Test 1

The Autoshear function was initiated using the reduced pre-charge and the BOP
accumulators filled and pressurized to 5,000 psig. The BSR connecting rods closed in
26 seconds. The highest pressure recorded on the Autoshear valve pressure gauge was
3,150 psig. The highest pressure recorded on the BSR close pressure gauge was
3,825 psig. The BOP accumulator pressure after the function was 4,000 psig. The
maximum pressure on both the starboard and port ST Locks was 1,500 psig. The

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starboard BSR ST Lock position was 3-1/2 inches and the port BSR ST Lock position
was 3-5/16 inches. This confirmed that both connecting rods were in the closed position.
The volume to close was 29.9 gallons. The sequence test functioned as intended. °

6.1.8.3.4 Test 2

The Autoshear function was initiated using the reduced pre-charge and the accumulators
filled and pressurized to 4,900 psig. The BSR connecting rods closed in 26 seconds. The
highest pressure recorded on the Autoshear valve pressure gauge was 3,300 psig. The
highest pressure recorded on the BSR close pressure gauge was 3,850 psig. The BOP
Accumulator pressure after the function was 3,900 psig. The maximum pressure on the
starboard BSR ST Lock was 1,500 psig. The maximum pressure on the port BSR ST
Lock was 1,475 psig. The BSR connecting rods were confirmed visually closed using a
video camera in the wellbore. The volume to close was 24 gallons. The sequence test
functioned as intended.’

After running the Autoshear system test using the reduced pre-charge, the BSR
connecting rods failed to retract with an open pressure of 3,000 psig applied. A Cameron
TWG member indicated that damage to the ST Lock bearings could cause unlocking
problems and that repeated use of an ST Lock with a bad bearing could make the
problems more severe. It was decided to replace the bearings on both the starboard and
port ST Locks. Following replacement of the bearings, the ST Locks were opened and the
BSR connecting rods were retracted. After the BSR connecting rods were opened, it was
decided to bypass the ST Locks on the BSRs for future tests.

6.1.9 Remotely Operated Vehicle Panel Testing

The BSR close function on the ROV Panel was function tested using three different flow
rates: 1, 2 and 7.5 gallons per minute (gpm). A hot stab supplied by a high pressure
accumulator unit was used to supply hydraulic pressure to the ROV Panel BSR close
port. The time needed for the BSRs to close when supplied with 3 different flow rates
was measured and recorded. The initial setup used a high pressure pump to directly
supply hydraulic pressure. The first test, using a flow rate of 1 gpm and the high pressure
pump resulted in an inconsistent flow rate. The test setup was changed so that the
hydraulic accumulators were used to supply pressure to the ROV panel.

The low flow rate test was re-run using the Hydraulic Pressure Unit (HPU) equipped with
accumulators capable of supplying 3,000 psig. The accumulators were charged to 3,000
psig for the testing. Unlike previous BSR function tests, the hydraulic pressure supplied
to the ST Locks is not separately regulated from the BSR closing pressure when
functioned using the ROV Panel. After the BSR connecting rods were fully closed, a
static leak test was performed for 15 minutes. There were no observable leaks for 1 gpm
and 7.5 gpm flow rate static tests. For the 2 gpm flow rate test a leak was observed at a
test setup fitting. It was corrected and the static test re-run for 15 minutes with no

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